                                      Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                            Document 60-2     Filed 04/08/25   Page 1 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:        American Airlines

Factor                      Airline Data        Additional Information         Comments                               Possible     Awarded
                                                                                                                      Points       Points
Number of Pref. Gates
                                  6
Requested 1                                                                                                              5           4.5
Airline Club Requested           Yes
                                                                                                                         7            7
International Flights
                                 No
                                                                                                                         5            0
Relevant International           No
Code Share(s)                                                                                                            4            0
Current EPax Levels 2
                             WN, AA, DL                                                                                               4
                                                                                                                         5

"Fit" into SAT 3
                                                                                                                         7            7


Service, Growth,
Experience4                                                                                                              7            7



Written Commitment                              -
To City Pairs, Flights or                                                                                                    N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                   N/A
6




Terminal Load
Balancing                        N/A                                                                                     N/A
Considerations 7


Total:                            ---                         ---                               ---                          40     - 29.5 -




         Footnotes:




                                                                        CoSA0003474
                                                                       CONFIDENTIAL
1.                        Case 1-2:
        Gate points as follows: 5:24-cv-01085-XR
                                    2 points            Document
                                             3-4: 3 points.         60-2
                                                            4-5: 4 points             Filed
                                                                                      6+:    04/08/25
                                                                                          5 points           Page 2 of 43
2.      Current EPax rank points as follows:       4th Quartile: 2 points   3,1 Quartile: 3 points   2nd Quartile: 4 points   1,, Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003475
                                                                   CONFIDENTIAL
Total Points:   29.5   Case 5:24-cv-01085-XR       Document 60-2         Filed 04/08/25   Page 3 of 43

"Fit" into SAT: Network carrier. Business traveler appeal plus leisure                        Recommendation:
                appeal. Good balance. Technology adequate. Club
                increases Carrier's appeal to SAT traveler.                                               Terminal C

Service, Growth, & Experience: Split cabin, top-tier club experience. Hub feed.
                               Growth potential viewed in conjunction with
                               already high epax and club commitment.                      High epax, club and number of gates --> Key factors
                               Known DC commitment. Fact that DCA is focus
                               city is highly relevant.

Written Commitments: Airline will commit to 10-15 year lease on club.




Need for City Gates:




Terminal Load Balancing: EPM to address.




                                                             3

                                                        CoSA0003476
                                                       CONFIDENTIAL
                                      Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                            Document 60-2     Filed 04/08/25   Page 4 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:        Delta Air Lines

Factor                      Airline Data        Additional Information         Comments                               Possible     Awarded
                                                                                                                      Points       Points
Number of Pref. Gates             5
Requested 1                                                                                                              5            4
Airline Club Requested           Yes
                                                                                                                         7            7
International Flights
                                 No
                                                                                                                         5            0
Relevant International          Yes
Code Share(s)                                                                                                            4            4
Current EPax Levels 2
                             WN, AA, DL                                                                                               3
                                                                                                                         5

"Fit" into SAT 3
                                                                                                                         7            7


Service, Growth,
Experience4                                                                                                              7            6



Written Commitment                              -
To City Pairs, Flights or                                                                                                    N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                   N/A
6




Terminal Load
Balancing                        N/A                                                                                     N/A
Considerations 7


Total:                            ---                         ---                               ---                          40      - 31 -




         Footnotes:




                                                                        CoSA0003477
                                                                       CONFIDENTIAL
1.                        Case 1-2:
        Gate points as follows: 5:24-cv-01085-XR
                                    2 points            Document
                                             3-4: 3 points.         60-2
                                                            4-5: 4 points             Filed
                                                                                      6+:    04/08/25
                                                                                          5 points           Page 5 of 43
2.      Current EPax rank points as follows:       4th Quartile: 2 points   3,1 Quartile: 3 points   2nd Quartile: 4 points   1,, Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003478
                                                                   CONFIDENTIAL
Total Points:   31   Case 5:24-cv-01085-XR         Document 60-2         Filed 04/08/25   Page 6 of 43

"Fit" into SAT: Network carrier. Business traveler appeal plus leisure                       Recommendation:
                appeal. Very good balance.
                                                                                                               C
                                                                                                  Next to International Gate

Service, Growth, & Experience: Split cabin, top-tier experience. Hub feed. Code
                               share with Aeromexico. Growth potential viewed
                               in conjunction with commitment to club.
                               Technology is very good. Clear commitment to
                               SAT by investment in major club.

Written Commitments: Willing to enter into long-term lease of club. 10-15 years.
                     Major commitment to SAT.




Need for City Gates: Code share opens potential for need for DL gates to be
                     close to Aeromexico International operations.




Terminal Load Balancing: EPM to address.




                                                             3

                                                        CoSA0003479
                                                       CONFIDENTIAL
                                      Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                            Document 60-2     Filed 04/08/25   Page 7 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:        United Airlines

Factor                      Airline Data        Additional Information         Comments                               Possible     Awarded
                                                                                                                      Points       Points
Number of Pref. Gates             6
Requested 1                                                                                                              5            4
Airline Club Requested           Yes
                                                                                                                         7            7
International Flights
                                 No
                                                                                                                         5            0
Relevant International           No
Code Share(s)                                                                                                            4            0
Current EPax Levels 2
                             WN, AA, DL                                                                                               3
                                                                                                                         5

"Fit" into SAT 3
                                                                                                                         7            5


Service, Growth,
Experience4                                                                                                              7            6



Written Commitment                              -
To City Pairs, Flights or                                                                                                    N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                   N/A
6




Terminal Load
Balancing                        N/A                                                                                     N/A
Considerations 7


Total:                            ---                         ---                               ---                          40      - 25 -




         Footnotes:




                                                                        CoSA0003480
                                                                       CONFIDENTIAL
1.                        Case 1-2:
        Gate points as follows: 5:24-cv-01085-XR
                                    2 points            Document
                                             3-4: 3 points.         60-2
                                                            4-5: 4 points             Filed
                                                                                      6+:    04/08/25
                                                                                          5 points           Page 8 of 43
2.      Current EPax rank points as follows:       4th Quartile: 2 points   3,1 Quartile: 3 points   2nd Quartile: 4 points   1,, Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003481
                                                                   CONFIDENTIAL
Total Points:   25   Case 5:24-cv-01085-XR        Document 60-2       Filed 04/08/25   Page 9 of 43

"Fit" into SAT: Network carrier. Business traveler appeal plus leisure appeal.            Recommendation:

                                                                                                  B, C or A
                                                                                               Further analysis needed

Service, Growth, & Experience: Split cabin, club experience. Hub feed. Growth
                               potential viewed in light of HQ visit and
                               commitment to club.




Written Commitments: Club commitment. Unclear as to term - if current club is
                     maintained, term maybe 5 years.




Need for City Gates: Unlikely




Terminal Load Balancing: EPM to address.




                                                             3

                                                        CoSA0003482
                                                       CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2      Filed 04/08/25   Page 10 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:       Southwest Airlines

Factor                      Airline Data        Additional Information     Comments                                Possible     Awarded
                                                                                                                   Points       Points
Number of Pref. Gates            10
Requested 1                                                                                                           5            5
Airline Club Requested           No
                                                                                                                      7            0
International Flights            Yes
                                                                                                                      5            4
Relevant International           No
Code Share(s)                                                                                                         4            0
Current EPax Levels 2
                             WN, AA, DL                                                                                            5
                                                                                                                      5

"Fit" into SAT 3
                                                                                                                      7            5


Service, Growth,
Experience4                                                                                                           7            6



Written Commitment                              -
To City Pairs, Flights or                                                                                                 N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                N/A
6




Terminal Load
Balancing                        N/A                                                                                  N/A
Considerations 7


Total:                           ---                         ---                             ---                          40     - 25 -




         Footnotes:




                                                                    CoSA0003483
                                                                   CONFIDENTIAL
1.                       Case 5:24-cv-01085-XR
        Gate points as follows: 1-2: 2 points            Document
                                              3-4: 3 points.        60-2
                                                             4-5: 4 points           Filed  04/08/25
                                                                                     6+: 5 points           Page 11 of 43
2.      Current EPax rank points as follows:       4th Quartile: 2 points   3,1 Quartile: 3 points   2nd Quartile: 4 points   1,, Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003484
                                                                   CONFIDENTIAL
Total Points:   25    Case 5:24-cv-01085-XR         Document 60-2         Filed 04/08/25   Page 12 of 43

"Fit" into SAT: Point to point with "focus city" service. Single cabin.                        Recommendation:
                Leisure travel product more than business.
                                                                                                            Not C

Service, Growth, & Experience: Single class cabin. Different boarding
                               experience. Growth potential viewed in
                               conjunction with already high epax. Seeking                  Note: With AA & DL needing to go in C, 10 gates
                               SAT-DC authority.                                            cannot be accommodated in C. International gates in
                                                                                            C exacerbate issues with putting WN gates in C.
                                                                                            Note: International service is only seasonal - loss of 1
                                                                                            point.
Written Commitments: None. Note large increase in gates raise questions about
                     Post DBO utilization. May be "blocking' play.




Need for City Gates: With 10 gates, highly unlikely to need per turn city gates.




Terminal Load Balancing: EPM to address. However, current WN epax
                         levels raise concern about having carrier
                         together with AAEDC.




                                                                3

                                                          CoSA0003485
                                                         CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2              Filed 04/08/25      Page 13 of 43
                                                      Gating Placement Analysis Worksheet
                                                                   American Airlines
                                                Airline:

Factor                      Airline Data        Additional Information                 Comments                               Possible     Awarded
                                                                                                                              Points       Points
Number of Pref. Gates             6                                                                                                          4.5
Requested 1                                                                                                                      5
Airline Club Requested
                               Yes                                                                                                           7
                                                                                                                                 7
International Flights
                                No                                                                                               5           0
Relevant International
Code Share(s)                   No                                                                                               4               0
Current EPax Levels 2
                            WN, AA, DL                                                                                                           4
                                                                                                                                 5

"Fit" into SAT 3
                                                                                                                                 7               7


Service, Growth,
Experience''                                                                                                                     7
                                                                                                                                             7
                                                                                             4 . ....P .7)NN.,...


Written Commitment
To City Pairs, Flights or                                                                                                            N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                           N/A
6



Terminal Load
Balancing                        N/A                                                                                             N/A
Considerations


Total:                           ---                         ---                                       ---                           40
                                                                                                                                             - 29.5 -




         Footnotes:




                                                                         CoSA0003486
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 14 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003487
                                                                   CONFIDENTIAL
Total Points.
                  - 29.5 -   Case 5:24-cv-01085-XR               Document 60-2            Filed 04/08/25   Page 15 of 43

"Fit" into SAT.                                                                                               Recommendation:
                   Network carrier. Business traveler appeal plus leisure appeal.
                                                                                                                Terminal C




Service, Growth, & Experience:
 Split cabin, Top-tier club experience. Hub feed. Growth potential viewed in conjunction with already        High e pax, club and number of gates --> Key factors
 high epax and club commitment. Known DC commitment.




Written Commitments:




Need for City Gates:




Terminal Load Balancing:




                                                                                3

                                                                         CoSA0003488
                                                                        CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2            Filed 04/08/25   Page 16 of 43
                                                      Gating Placement Analysis Worksheet
                                                                   Delta Air Lines
                                                Airline:

Factor                      Airline Data        Additional Information               Comments                            Possible     Awarded
                                                                                                                         Points       Points
Number of Pref. Gates         5                                                                                                        4
Requested 1                                                                                                                 5
Airline Club Requested
                               Yes                                                                                                         7
                                                                                                                            7
International Flights
                                  No                                                                                        5              0
Relevant International
                               Yes                                                                                                         4
Code Share(s)                                                                                                               4
Current EPax Levels 2
                            WN, AA, DL                                                                                                      3
                                                                                                                            5




                                                                        3
"Fit" into SAT 3
                                                                                                                            7           7


Service, Growth,
Experience''                                                                                                                7
                                                                                                                                        6
                                                                                     T ..)17,
Written Commitment
To City Pairs, Flights or                                                                                                       N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                      N/A
6



Terminal Load
Balancing                         N/A                                                                                       N/A
Considerations


Total:                             ---                       ---                                   ---                          40
                                                                                                                                           -31 -




         Footnotes:




                                                                         CoSA0003489
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 17 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003490
                                                                   CONFIDENTIAL
Total Points:
                          Case 5:24-cv-01085-XR                 Document 60-2          Filed 04/08/25   Page 18 of 43

"Fit" into SAT.                                                                                            Recommendation:
                  Network carrier. Business traveler appeal plus leisure appeal.




Service, Growth, & Experience:
 Split cabin, Top-tier club experience. Hub feed. Code share with Aeromexico. Growth potential viewed
 in conjunction with commitment to club.




Written Commitments:




Need for City Gates:
                           Code share opens potential for need for DL gates to
                           be close to Aeromexico Int'l operations.




Terminal Load Balancing:




                                                                                 3

                                                                        CoSA0003491
                                                                       CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2               Filed 04/08/25   Page 19 of 43
                                                      Gating Placement Analysis Worksheet
                                                                   Southwest Airlines
                                                Airline:

Factor                      Airline Data        Additional Information                  Comments                            Possible     Awarded
                                                                                                                            Points       Points
Number of Pref. Gates             10                                                                                                       5
Requested 1                                                                                                                    5
Airline Club Requested
                                No                                                                                                          0
                                                                                                                               7
International Flights
                                 Yes                                                                                           5               4
Relevant International
Code Share(s)                   No                                                                                             4               0
Current EPax Levels 2
                            WN, AA, DL
                                                                                                                               5                5

"Fit" into SAT 3
                                                                   e   Q4                                                      7               5


Service, Growth,
Experience''                                                                      7 4                                          7
                                                                                                                                            6



Written Commitment
To City Pairs, Flights or                                                                                                          N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                         N/A
6



Terminal Load
Balancing                        N/A                                                                                           N/A
Considerations


Total:                           ---                         ---                                      ---                          40
                                                                                                                                           - 25.0 -




         Footnotes:




                                                                         CoSA0003492
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 20 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003493
                                                                   CONFIDENTIAL
Total Points:
                          Case 5:24-cv-01085-XR                 Document 60-2             Filed 04/08/25   Page 21 of 43

"Fit" into SAT.                                                                                               Recommendation:
                  Point to point with "focus city"




Service, Growth, & Experience:
 Single class cabin. Different boarding experience   Growth potential viewed in conjunction with already
 high epax. Seeking SAT-DC authority.




Written Commitments:




Need for City Gates:
                                                                                              T
Terminal Load Balancing:




                                                                               3

                                                                       CoSA0003494
                                                                      CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2              Filed 04/08/25     Page 22 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:           United Airlines

Factor                      Airline Data        Additional Information               Comments                                Possible     Awarded
                                                                                                                             Points       Points
Number of Pref. Gates             6                                                                                                         4
Requested 1                                                                                                                     5
Airline Club Requested
                                Yes                                                                                                          7
                                                                                                                                7
International Flights
                                  No                                                                                            5               0
Relevant International
Code Share(s)                   No                                                                                              4               0
Current EPax Levels 2
                            WN, AA, DL                                                                                                           3
                                                                                                                                5

"Fit" into SAT 3



Service, Growth,
Experience''
                                                                        D             0    4   1.7 (
                                                                                                                                7



                                                                                                                                7
                                                                                                                                             6
                                                                                                                                                5




Written Commitment
To City Pairs, Flights or                                                                                                           N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                          N/A
6



Terminal Load
Balancing                        N/A                                                                                            N/A
Considerations


Total:                           ---                         ---                                       ---                          40
                                                                                                                                            - 25.0 -




         Footnotes:




                                                                         CoSA0003495
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 23 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003496
                                                                   CONFIDENTIAL
Total Points:
                          Case 5:24-cv-01085-XR                 Document 60-2            Filed 04/08/25   Page 24 of 43

"Fit" into SAT.                                                                                              Recommendation:
                  Network carrier. Business traveler appeal plus leisure appeal.




Service, Growth, & Experience:
 Split cabin, Club experience. Hub feed. Growth potential viewed in light of HQ visit and commitment to
 club.




Written Commitments:



                                                                                                                               I

Need for City Gates:




Terminal Load Balancing:




                                                                               3

                                                                        CoSA0003497
                                                                       CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2              Filed 04/08/25      Page 25 of 43
                                                      Gating Placement Analysis Worksheet
                                                                   American Airlines
                                                Airline:

Factor                      Airline Data        Additional Information                 Comments                               Possible     Awarded
                                                                                                                              Points       Points
Number of Pref. Gates             6                                                                                                          4.5
Requested 1                                                                                                                      5
Airline Club Requested
                               Yes                                                                                                           7
                                                                                                                                 7
International Flights
                                No                                                                                               5           0
Relevant International
Code Share(s)                   No                                                                                               4               0
Current EPax Levels 2
                            WN, AA, DL                                                                                                           4
                                                                                                                                 5

"Fit" into SAT 3
                                                                                                                                 7               7


Service, Growth,
Experience''                                                                                                                     7
                                                                                                                                             7
                                                                                             4 . ....P .7)NN.,...


Written Commitment
To City Pairs, Flights or                                                                                                            N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                           N/A
6



Terminal Load
Balancing                        N/A                                                                                             N/A
Considerations


Total:                           ---                         ---                                       ---                           40
                                                                                                                                             - 29.5 -




         Footnotes:




                                                                         CoSA0003498
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 26 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003499
                                                                   CONFIDENTIAL
Total Points.
                  - 29.5 -   Case 5:24-cv-01085-XR               Document 60-2            Filed 04/08/25   Page 27 of 43

"Fit" into SAT.                                                                                               Recommendation:
                   Network carrier. Business traveler appeal plus leisure appeal.
                                                                                                                Terminal C




Service, Growth, & Experience:
 Split cabin, Top-tier club experience. Hub feed. Growth potential viewed in conjunction with already        High e pax, club and number of gates --> Key factors
 high epax and club commitment. Known DC commitment.




Written Commitments:




Need for City Gates:




Terminal Load Balancing:




                                                                                3

                                                                         CoSA0003500
                                                                        CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2            Filed 04/08/25   Page 28 of 43
                                                      Gating Placement Analysis Worksheet
                                                                   Delta Air Lines
                                                Airline:

Factor                      Airline Data        Additional Information               Comments                            Possible     Awarded
                                                                                                                         Points       Points
Number of Pref. Gates         5                                                                                                        4
Requested 1                                                                                                                 5
Airline Club Requested
                               Yes                                                                                                         7
                                                                                                                            7
International Flights
                                  No                                                                                        5              0
Relevant International
                               Yes                                                                                                         4
Code Share(s)                                                                                                               4
Current EPax Levels 2
                            WN, AA, DL                                                                                                      3
                                                                                                                            5




                                                                        3
"Fit" into SAT 3
                                                                                                                            7           7


Service, Growth,
Experience''                                                                                                                7
                                                                                                                                        6
                                                                                     T ..)17,
Written Commitment
To City Pairs, Flights or                                                                                                       N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                      N/A
6



Terminal Load
Balancing                         N/A                                                                                       N/A
Considerations


Total:                             ---                       ---                                   ---                          40
                                                                                                                                           -31 -




         Footnotes:




                                                                         CoSA0003501
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 29 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003502
                                                                   CONFIDENTIAL
Total Points:
                          Case 5:24-cv-01085-XR                 Document 60-2          Filed 04/08/25   Page 30 of 43

"Fit" into SAT.                                                                                            Recommendation:
                  Network carrier. Business traveler appeal plus leisure appeal.




Service, Growth, & Experience:
 Split cabin, Top-tier club experience. Hub feed. Code share with Aeromexico. Growth potential viewed
 in conjunction with commitment to club.




Written Commitments:




Need for City Gates:
                           Code share opens potential for need for DL gates to
                           be close to Aeromexico Int'l operations.




Terminal Load Balancing:




                                                                                 3

                                                                        CoSA0003503
                                                                       CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2               Filed 04/08/25   Page 31 of 43
                                                      Gating Placement Analysis Worksheet
                                                                   Southwest Airlines
                                                Airline:

Factor                      Airline Data        Additional Information                  Comments                            Possible     Awarded
                                                                                                                            Points       Points
Number of Pref. Gates             10                                                                                                       5
Requested 1                                                                                                                    5
Airline Club Requested
                                No                                                                                                          0
                                                                                                                               7
International Flights
                                 Yes                                                                                           5               4
Relevant International
Code Share(s)                   No                                                                                             4               0
Current EPax Levels 2
                            WN, AA, DL
                                                                                                                               5                5

"Fit" into SAT 3
                                                                   e   Q4                                                      7               5


Service, Growth,
Experience''                                                                      7 4                                          7
                                                                                                                                            6



Written Commitment
To City Pairs, Flights or                                                                                                          N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                         N/A
6



Terminal Load
Balancing                        N/A                                                                                           N/A
Considerations


Total:                           ---                         ---                                      ---                          40
                                                                                                                                           - 25.0 -




         Footnotes:




                                                                         CoSA0003504
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 32 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003505
                                                                   CONFIDENTIAL
Total Points:
                          Case 5:24-cv-01085-XR                 Document 60-2             Filed 04/08/25   Page 33 of 43

"Fit" into SAT.                                                                                               Recommendation:
                  Point to point with "focus city"




Service, Growth, & Experience:
 Single class cabin. Different boarding experience   Growth potential viewed in conjunction with already
 high epax. Seeking SAT-DC authority.




Written Commitments:




Need for City Gates:
                                                                                              T
Terminal Load Balancing:




                                                                               3

                                                                       CoSA0003506
                                                                      CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2              Filed 04/08/25     Page 34 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:           United Airlines

Factor                      Airline Data        Additional Information               Comments                                Possible     Awarded
                                                                                                                             Points       Points
Number of Pref. Gates             6                                                                                                         4
Requested 1                                                                                                                     5
Airline Club Requested
                                Yes                                                                                                          7
                                                                                                                                7
International Flights
                                  No                                                                                            5               0
Relevant International
Code Share(s)                   No                                                                                              4               0
Current EPax Levels 2
                            WN, AA, DL                                                                                                           3
                                                                                                                                5

"Fit" into SAT 3



Service, Growth,
Experience''
                                                                        D             0    4   1.7 (
                                                                                                                                7



                                                                                                                                7
                                                                                                                                             6
                                                                                                                                                5




Written Commitment
To City Pairs, Flights or                                                                                                           N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                          N/A
6



Terminal Load
Balancing                        N/A                                                                                            N/A
Considerations


Total:                           ---                         ---                                       ---                          40
                                                                                                                                            - 25.0 -




         Footnotes:




                                                                         CoSA0003507
                                                                        CONFIDENTIAL
1.
                         Case 5:24-cv-01085-XR
        Gate points as follows:
                              1-2: 2 points
                                                       Document 60-2
                                            3-4: 3 points. 4-5: 4 points
                                                                                     Filed  04/08/25
                                                                                     6+: 5 points
                                                                                                             Page 35 of 43

2.      Current EPax rank points as follows:       4th Quartile: 2 points   3ffl Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003508
                                                                   CONFIDENTIAL
Total Points:
                          Case 5:24-cv-01085-XR                 Document 60-2            Filed 04/08/25   Page 36 of 43

"Fit" into SAT.                                                                                              Recommendation:
                  Network carrier. Business traveler appeal plus leisure appeal.




Service, Growth, & Experience:
 Split cabin, Club experience. Hub feed. Growth potential viewed in light of HQ visit and commitment to
 club.




Written Commitments:




Need for City Gates:




Terminal Load Balancing:




                                                                               3

                                                                        CoSA0003509
                                                                       CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2      Filed 04/08/25   Page 37 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:

Factor                      Airline Data        Additional Information     Comments                                Possible     Awarded
                                                                                                                   Points       Points
Number of Pref. Gates
Requested 1                                                                                                           5
Airline Club Requested
                                                                                                                      7
International Flights
                                                                                                                      5
Relevant International
Code Share(s)                                                                                                         4
Current EPax Levels 2
                                                                                                                      5

"Fit" into SAT 3
                                                                                                                      7


Service, Growth,
Experience`'                                                                                                          7



Written Commitment
To City Pairs, Flights or                                                                                                 N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                N/A
6



Terminal Load
Balancing                        N/A                                                                                  N/A
Considerations 7


Total:                           ---                         ---                             ---                          40




         Footnotes:




                                                                    CoSA0003510
                                                                   CONFIDENTIAL
1.                       Case 5:24-cv-01085-XR
        Gate points as follows: 1-2: 2 points            Document
                                              3-4: 3 points.        60-2
                                                             4-5: 4 points           Filed  04/08/25
                                                                                     6+: 5 points             Page 38 of 43
        Current EPax rank points as follows:       4th Quartile: 2 points   3rd Quartile:   3 points   2nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.




                                                                    Scoring Notes


                                                                            2

                                                                    CoSA0003511
                                                                   CONFIDENTIAL
Total Points:          Case 5:24-cv-01085-XR   Document 60-2     Filed 04/08/25   Page 39 of 43

"Fit" into SAT:                                                                      Recommendation:




Service, Growth, 85 Experience:




Written Commitments:




Need for City Gates:




Terminal Load Balancing:




                                                        3

                                                   CoSA0003512
                                                  CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: DO NO DISSEMINATE                       Document 60-2      Filed 04/08/25   Page 40 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:

Factor                      Airline Data        Additional Information     Comments                                Possible     Awarded
                                                                                                                   Points       Points
Number of Pref. Gates
Requested 1                                                                                                           5
Airline Club Requested
                                                                                                                      7
International Flights
                                                                                                                      5
Relevant International
Code Share(s)                                                                                                         4
Current EPax Levels 2
                                                                                                                      5

"Fit" into SAT 3
                                                                                                                      7


Service, Growth,
Experience`'                                                                                                          7



Written Commitment
To City Pairs, Flights or                                                                                                 N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                                N/A
6



Terminal Load
Balancing                        N/A                                                                                  N/A
Considerations 7


Total:                           ---                         ---                             ---                          40




         Footnotes:




                                                                    CoSA0003513
                                                                   CONFIDENTIAL
1.                       Case 5:24-cv-01085-XR
        Gate points as follows: 1-2: 2 points            Document
                                              3-4: 3 points.        60-2
                                                             4-5: 4 points           Filed  04/08/25
                                                                                     6+: 5 points             Page 41 of 43
        Current EPax rank points as follows:       4th Quartile: 2 points   3rd Quartile:   3 points   2nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.


                                                                    Scoring Notes

Total Points:

"Fit" into SAT:                                                                                                    Recommendation:



Service, Growth, 86 Experience:




Written Commitments:

Need for City Gates:




Terminal Load Balancing:




                                                                            2

                                                                    CoSA0003514
                                                                   CONFIDENTIAL
                                     Case 5:24-cv-01085-XR
         CONFIDENTIAL: Do No DISSEMINATE                     Document 60-2      Filed 04/08/25   Page 42 of 43
                                                      Gating Placement Analysis Worksheet

                                                Airline:

Factor                      Airline Data        Additional Information    Comments                               Possible     Awarded
                                                                                                                 Points       Points
Number of Pref. Gates
Requested 1                                                                                                         5
Airline Club Requested
                                                                                                                    7
International Flights
                                                                                                                    5
Relevant International
Code Share(s)                                                                                                       4
Current EPax Levels 2
                                                                                                                    5

"Fit" into SAT 3
                                                                                                                    7


Service, Growth,
Experience4                                                                                                         7



Written Commitment
To City Pairs, Flights or                                                                                               N/A
EPax 5


Possible Need For
Appurtenant City Gates                                                                                              N/A
6



Terminal Load
Balancing                        N/A                                                                                N/A
Considerations


Total:                                                                                                                  40




                                                                  CoSA0003515
                                                                 CONFIDENTIAL
Footnotes:                Case 5:24-cv-01085-XR               Document 60-2              Filed 04/08/25         Page 43 of 43
1.      Gate points as follows:   1-2: 2 points   3-4: 3 points.    4-5:     4 points    6+: 5 points

2.      Current EPax rank points as follows:       4t h Quartile: 2 points     3==t Quartile: 3 points   2 nd Quartile:   4 points   1st Quartile: 5 points

3.      "Fit" into SAT relates to desirability of passenger profile (business, leisure, mix, etc) and airline brand position (network, ULCC, established,
start-up, etc)

4.      Service, Growth, Experience is intended to account for airlines overall reasonable growth potential and commitment to SAT, aspirations for
        international flights and any differentiation of product or technology used that would enhance customer experience.

5.      "Written Commitment To City Pairs, Flights or EPax" is to account for definitive written commitment, with meaningful breach provisions, to
        provide specific city pair service, a minimum level of flights or level of enplaned passengers. Could be a contingent commitment (ex. if route
        authority is granted, carrier will provide daily non-stop serviced to DCA for      years).

6.      Possible Need For Appurtenant City Gates" considers the potential for a carrier to grow incrementally beyond its preferential gates and/or
        for the use of city gates for RON aircraft. The availability of usable city gates for IROPs is also a factor that is considered.

7.      As carriers are prioritized for assignment to Terminal C, it is necessary to view the airport's operations as a whole and determine what is
        advisable from an airport-wide balancing viewpoint. Among the areas for consideration are impacts upon Baggage Make Up area, the BHS,
        the airport roadway system, the passenger and commercial curbs and the ticketing lobby.


                                                                    Scoring Notes

Total Points:

"Fit" into SAT:
                                                                                                                      Recommendation:



Service, Growth, 86 Experience:




Written Commitments:

Need for City Gates:




Terminal Load Balancing:




                                                                     CoSA0003516
                                                                    CONFIDENTIAL
